                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER



UNITED STATES OF AMERICA                             )
                                                     )      Case No. 4:08-cr-25
vs.                                                  )
                                                     )      JUDGE MATTICE
AARON SHAW                                           )      MAGISTRATE JUDGE LEE



                              REPORT AND RECOMMENDATION


       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 9, 2009. At

the hearing, defendant moved to withdraw his not guilty plea to Count One of the nine-count

indictment and entered a plea of guilty to the offense charged in Count One, that is of conspiracy

to distribute and possess with intent to distribute five grams or more of a mixture and substance

containing cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One be granted, his plea of guilty to the offense charged in Count One, that is of conspiracy to




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distribute and possess with intent to distribute five grams or more of a mixture and substance

containing cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B) be accepted, the Court

adjudicate defendant guilty of the charge set forth in Count One, that is of conspiracy to distribute

and possess with intent to distribute five grams or more of a mixture and substance containing

cocaine base in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B), and a decision on whether to accept

the plea agreement be deferred until sentencing. I further RECOMMEND defendant remain in

custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, and imposition of sentence are specifically reserved for the district judge.



                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
in this matter. See 28 U.S.C. §636(b).




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